     Case 2:13-cr-00067-RSM        Document 121       Filed 04/03/13        Page 1 of 2



1

2

3

4

5

6                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
7                                   AT SEATTLE
8
      UNITED STATES OF AMERICA,
9                                                  No. CR 13-67 RSM-11
                                     Plaintiff,
10                                                 ORDER GRANTING MOTION TO
      v.
                                                   SUBSTITUTE COUNSEL
11
      HECTOR HERNANDEZ-HERNANDEZ,
12                                  Defendant.
13

14          THIS MATTER having come on upon the motion of the Defendant to allow a
15   substitution of counsel, and the parties having agreed that the relief requested is

16   appropriate as evidenced by the signatures of the respective counsel and the Court being

17   advised on the premises, NOW THEREFORE

18          IT IS ORDERED, ADJUDGED AND DECREED that Glenn Carpenter shall be

19   allowed to withdraw and John Henry Browne be substituted as counsel for Hector

20   Hernandez-Hernandez.

            DATED this 3rd day of April 2013.
21

22

23
                                                  A
                                                  RICARDO S. MARTINEZ
                                                  UNITED STATES DISTRICT JUDGE
24

     ORDER GRANTING MOTION                          LAW OFFICES OF JOHN HENRY BROWNE, P.S.
                                                                      200 DELMAR BUILDING
     TO SUBSTITUTE COUNSEL - 1                                  108 SOUTH WASHINGTON STREET
                                                                    SEATTLE, WASHINGTON 98104
                                                                 (206) 388-0777 • FAX: (206) 388-0780
     Case 2:13-cr-00067-RSM        Document 121     Filed 04/03/13        Page 2 of 2



1    Presented by:

2    JOHN HENRY BROWNE, P.S.

3

4    /s John Henry Browne
     John Henry Browne, WSBA #4677
5    Substituting Attorney for Hector Hernandez-Hernandez
6
     Electronically approved by:
7

8
     /s Glenn Carpenter
9    Glen Carpenter, WSBA #18301
     Withdrawing Attorney
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

     ORDER GRANTING MOTION                        LAW OFFICES OF JOHN HENRY BROWNE, P.S.
                                                                    200 DELMAR BUILDING
     TO SUBSTITUTE COUNSEL - 2                                108 SOUTH WASHINGTON STREET
                                                                  SEATTLE, WASHINGTON 98104
                                                               (206) 388-0777 • FAX: (206) 388-0780
